         Case 2:24-cv-01743-KBH Document 75 Filed 07/17/24 Page 1 of 5




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA

 ATS TREE SERVICES, LLC,

                       Plaintiff,

        v.

 FEDERAL TRADE COMMISSION; LINA M.
 KHAN, in her official capacity as Chair of the
 Federal Trade Commission; and REBECCA                 Case No. 2:24-cv-01743-KBH
 KELLY SLAUGHTER, ALVARO BEDOYA,
 ANDREW N. FERGUSON, and MELISSA
 HOLYOAK, in their official capacities as
 Commissioners of the FTC,

                       Defendants.


             BRIEF IN SUPPORT OF MOTION TO SUPPLEMENT THE RECORD

       On July 10, 2024, the Court held a hearing on Plaintiff ATS Tree Services, LLC’s (“ATS”)

Motion for Stay of Effective Date and Preliminary Injunction (Doc. 10) (the “Motion”). In support

of the Motion, ATS filed a declaration from Mr. David Servin documenting the irreparable harm

ATS will suffer if the Federal Trade Commission’s Non-Compete Clause Rule (the “Final Rule”)

goes into effect on September 4, 2024. Declaration of D. Servin (Doc. 11-1) (“Servin Decl.”).

During the July 10, 2024, hearing, the Court questioned ATS’s counsel seeking additional

information regarding one of the types of irreparable harm ATS will suffer if the Final Rule is not

preliminarily enjoined. To fully respond to the Court’s questions, ATS respectfully requests the

opportunity to supplement the record with the attached supplemental declaration from Mr. Servin,

or, in the alternative, requests the Court set an evidentiary hearing to provide Mr. Servin an

opportunity to testify regarding the irreparable harm ATS will suffer if the Final Rule is not

preliminarily enjoined. ATS conferred with Defendants regarding this motion and Defendants

oppose this request. Supplementing the record through either the attached declaration or further
         Case 2:24-cv-01743-KBH Document 75 Filed 07/17/24 Page 2 of 5




testimony from Mr. Servin will address the Court’s questions regarding irreparable harm and assist

in deciding the Motion.

                                          ARGUMENT

       In its briefs on the Motion, ATS put forward several irreparable injuries that it will suffer

if the Final Rule is allowed to go into effect, including incurring nonrecoverable compliance costs,

losing its contractual rights in its existing non-compete agreements, and the significant risk of

immediately losing employees who have received specialized training from ATS to a direct

competitor. Doc. 11 at 23–24; Doc. 53 at 15–17. In support of these arguments, ATS filed with the

Motion a declaration from ATS’s Chief Financial Officer and part owner, David Servin. Servin

Decl. ¶ 2. The declaration laid out the specialized training program ATS provides its tree care

employees, including technical climbing training, explained that the training program would be

infeasible without the protection of ATS’s non-compete agreements, and described the compliance

costs ATS will face if it must comply with the Rule. See generally id. ATS maintains that the Servin

Declaration establishes irreparable harm under the relevant legal standards as described in ATS’s

briefs. Doc. 11 at 23–24; Doc. 53 at 15–17.

       During the July 10, 2024, hearing on the Motion, the Court extensively questioned ATS’s

counsel seeking more detailed information beyond the Servin Declaration about the harm ATS

would suffer without a preliminary injunction. For example, the Court questioned ATS’s counsel

concerning the precise nature of the specialized training ATS employees receive, the costs of that

training, the extent of outside versus on-the-job or internal training employees received, and

whether and to what extent ATS employees could be trained by watching publicly available videos.

ATS and Defendants agreed prior to the hearing that for purposes of the Motion “the facts as

presented in the record would be the same if presented” during the hearing and that the parties

would therefore “forgo the presentation of evidence” during the hearing. Doc. 64. Given the
                                                 2
          Case 2:24-cv-01743-KBH Document 75 Filed 07/17/24 Page 3 of 5




parties’ agreement, ATS was not expecting to put on witnesses or to offer additional evidence

beyond what was contained in Mr. Servin’s declaration.

       ATS does not believe that additional evidence is necessary to illustrate that it will suffer

irreparable harm from the Final Rule. But in light of the Court’s questions, and its apparent view

that additional evidence is necessary, ATS requests that the Court permit ATS to supplement the

preliminary injunction record either by considering the attached supplemental declaration from

Mr. Servin or setting an evidentiary hearing at which Mr. Servin be given the opportunity to testify.

Granting this request would be consistent with the past practice of courts in this district, which

have permitted the preliminary injunction record to be supplemented. Mickens-Thomas v.

Martinez, No. CIV.A. 04-1615, 2004 WL 1275216, at *1 (E.D. Pa. June 7, 2004); Britt-Still v.

Allstate Ins. Co., No. CIV. A. 90-7815, 1991 WL 64623, at *2 (E.D. Pa. Apr. 24, 1991). ATS

acknowledges that the Court stated its intention to rule on the Motion by July 23, 2024. Doc. 15.

But good cause exists to supplement the record because a supplemental declaration or further

testimony from Mr. Servin will aid the Court in evaluating the irreparable harm to ATS through

additional evidence rather than the representations of ATS’s counsel. Mr. Servin is currently

preparing for the Pennsylvania bar exam, which takes place on July 30 and 31, 2024. He is

available beginning August 1 to attend a hearing if the Court decides to hear fact testimony on the

Motion.

                                         CONCLUSION

       For the foregoing reasons, ATS respectfully requests that this Court supplement the record

on the Motion with the attached declaration from Mr. Servin, or, in the alternative, set an

evidentiary hearing at which Mr. Servin can testify regarding the irreparable harm the Final Rule

will cause ATS.



                                                 3
 Case 2:24-cv-01743-KBH Document 75 Filed 07/17/24 Page 4 of 5




DATED: July 17, 2024.

                                   Respectfully submitted,

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                               4
         Case 2:24-cv-01743-KBH Document 75 Filed 07/17/24 Page 5 of 5




                                CERTIFICATE OF SERVICE

       I hereby certify that on July 17, 2024, I electronically filed the foregoing with the Clerk of

the United States District Court for the Eastern District of Pennsylvania using the CM/ECF system,

which sent notifications of such filing to all registered CM/ECF users.

       DATED: July 17, 2024.

                                                              /s/ Joshua M. Robbins
                                                              JOSHUA M. ROBBINS




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